                             Case 1:18-cr-00799-KMW Document 174 Filed 01/07/20 Page 1 of 1
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    ~        DEC 2 6 2019             ~                        GOLDBERGER & DUBIN, P.C
                                                                            ATTORNEYS AT LAW
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                                                                                           December 20, 2019

                Hon. Kimba M. Wood
                Daniel Patrick Moynihan
                United States CoU1thouse
                500 Pearl Street                                                                           MEMO ENDORSED
                New York, New York 10007

                                                                                  Re:     United States v. Ziyu Wang
                                                                                          Docket No. 18-cr-799-05 (KMW)

                Dear Judge Wood:

                        The parties respectfully request that the Court set Mr. Wang's matter for sentencing in
                early 2020.

    S? l"-\e. f't c i ~          }s "SCrud K Lu!. ~'"                                     Respectfully submitted,
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l-< ~ Y\AA f'1        \., . (:, 0\/ .LI\. f'I   rY\..# f't:t   S U \., \N\I ~ ~ i ~""'    Edgar L. Fankbonner
i5>~w. b~ 1=<6~                                   l's ·                                   Attorney for Ziyu Wang
                cc:          Alexandra Rothman
                             U.S. Attorney's Office




                                                                                                    so ORDERED:            N.Y., N.Y.       1/   1I   20


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                                                                                                         KIMBA M. WOOD
                                                                                                                U.S.D.J.
